UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________________

TOWN OF HALFMOON et al.,

                        Plaintiffs,

      v.
                                                   Case No. 1:09-cv-0228, DNH-CFH

GENERAL ELECTRIC COMPANY,

                        Defendant.


SARATOGA COUNTY WATER AUTHORITY,

                        Plaintiff,

      v.
                                                   Case No. 1:11-cv-006, DNH-CFH
GENERAL ELECTRIC COMPANY,

                        Defendant.




           GENERAL ELECTRIC COMPANY’S MEMORANDUM OF LAW
             IN SUPPORT OF ITS MOTION TO EXCLUDE CERTAIN
                   OPINIONS OF KIRK WYE BROWN, Ph.D
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                                      INTRODUCTION

       Kirk Brown, Ph.D., who for over thirty years was a Professor of Soil and Crop Sciences

at Texas A&M University, has put forward a broad assortment of opinions in this case, most of

which relate to the “fate and transport” of polychlorinated biphenyls (PCBs) in the Hudson

River during and after the Dredging Project currently being undertaken by defendant General

Electric Company (GE). He offers opinions about, among other things, the likelihood that the

areas dredged during Phase 2 of the Dredging Project will meet the U.S. EPA’s residual stan-

dard for PCBs left in the sediment after dredging, Ex. 11 (Expert Witness Report of Kirk Wye

Brown, Ph. D.) (Opinion 4.3); the adequacy of the water column monitoring for PCBs

downstream of the dredging operations (Opinion 4.7); and the time that may be required post-

dredging before the River has returned to pre-dredging concentrations of PCBs in the water

(Opinion 4.10). Although those opinions are doubtful in many respects, their problems can be

adequately addressed through the traditional methods of cross-examination and the present-

ation of contrary opinions from those with a different knowledge base and methodology.

       In the midst of these fate-and-transport opinions, however, Dr. Brown also ranges

widely across the other issues relevant to this case and opines: (1) that communities that used

to draw their drinking water from the Hudson River will need to use alternative sources of

water long after the Dredging Project is concluded (Opinion 4.5 at 30-33); (2) that potential

spikes in PCB concentrations cannot be predicted with sufficient certainty to permit munici-

palities along the Hudson River to use it as a safe source of drinking water (Opinion 4.6); (3)

that it will not be safe for residents of plaintiff Town of Halfmoon to use the River for drinking


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  All exhibits are appended to the accompanying Declaration of William J. Bachman in
Support of General Electric Company’s Motion to Exclude Certain Opinions of Kirk Wye
Brown, Ph.D.


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water until there are no PCBs in the river (Opinion 4.11); and (4) that the only way to ensure

safe drinking water for communities along the River is to provide a permanent source of

alternative water for them (Opinion 4.12). 2 In his rebuttal report, Dr. Brown offers the

opinions (1) that GE’s behavior in the first ten years after PCBs were identified as a potential

environmental problem showed a “lack of commitment to environmental protection,” Ex. 2

(Expert Rebuttal Report of Kirk Wye Brown, Ph.D., Feb. 14, 2014) at 15-16; (2) that the leaks

and spills of PCBs that GE experienced during the years it used the chemicals were

“excessive” and showed a lack of diligence on GE’s part, id. at 17-18; and (3) that the plaintiff

municipalities’ obtaining alternative water was consistent with the EPA’s National

Contingency Plan (NCP), id . at 35. It is to these opinions about PCB health effects, about how

municipalities should evaluate the risks of using the River as a source for drinking water, about

GE’s historical conduct with respect to PCBs, and about the plaintiffs’ NCP compliance, that

this motion to exclude is directed, because Dr. Brown’s opinions on those matters clearly do

not meet the requirements of Rule 702.




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  Although Dr. Brown was put forth as an expert by counsel for plaintiffs Stillwater, Water-
ford, Saratoga County and the Saratoga County Water Authority, his report and testimony
contain numerous references to opinions about Halfmoon. Dr. Brown did state that he was not
planning to offer at trial opinions on behalf of former plaintiffs Stillwater and Waterford. Ex. 3
(Brown deposition) at 20:22-25. For purposes of this motion, however, it makes no difference
on whose behalf the opinion is offered, and we address any opinion that Dr. Brown has
expressed about any of the remaining plaintiffs, in the event Halfmoon at some point seeks to
rely on Dr. Brown’s opinions.


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                                          ARGUMENT

I.     Rule 702 Places Limits on the Allowable Scope of an Expert’s Testimony.

       Rule 702 of the Federal Rules of Evidence provides:

       If scientific, technical, or other specialized knowledge will assist the trier of fact
       to understand the evidence or to determine a fact in issue, a witness qualified as
       an expert by knowledge, skill, experience, training, or education, may testify
       thereto in the form of opinion or otherwise, if (1) the testimony is based upon
       sufficient facts or data, (2) the testimony is the product of reliable principles and
       methods, and (3) the witness has applied the principles and methods to the facts
       of the case.

Under the Supreme Court’s decision in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579

(1993), which Rule 702 now largely codifies, “the district court functions as the gatekeeper for

expert testimony.” Raskin v. Wyatt Co., 125 F.3d 55, 66 (2d Cir. 1997). The first threshold

that must be crossed, of course, is that the witness is “qualified as an expert by knowledge,

skill, experience, training or education.” Fed. R. Evid. 702. In evaluating an expert’s qualifi-

cations, federal courts properly insist that the expert’s testimony rest on genuine expertise and

not just personal opinion unconnected to any relevant training or experience in the subject

matter. See, e.g., Adams v. Ameritech Servs., Inc., 231 F.3d 414, 423 (7th Cir. 2000).

Qualifications must be analyzed on an opinion-by-opinion basis. Being an expert in one field

does not give a witness a free pass to offer opinions in other fields. An expert must “stay

within the reasonable confines of his subject area, and cannot render expert opinion on an

entirely different field or discipline.” Lappe v. American Honda Motor Co., 857 F. Supp. 222,

227-28 & n.4 (N.D.N.Y.1994) (citing cases of experts excluded for lack of qualifications),

aff’d, 101 F.3d 682 (2d Cir. 1996).

       Even if a proposed expert is otherwise qualified, his testimony is admissible only if the

processes or techniques he used in formulating his opinions are scientifically reliable. See

Daubert, 509 U.S. at 592. “[W]hen an expert opinion is based on data, a methodology, or

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studies that are simply inadequate to support the conclusions reached, Daubert and Rule 702

mandate the exclusion of that unreliable opinion testimony.” Amorgianos v. Nat’l R.R.

Passenger Corp., 303 F.3d 256, 266 (2d Cir. 2002). “[T]he court is not obligated to accept a

conclusion if it does not reliably flow from the facts available and methodologies used.” Adel

v. Greensprings of Vt., Inc., 363 F. Supp. 2d 683, 687 (D. Vt. 2005). This naturally follows

from the Supreme Court’s admonition that nothing in the Federal Rules of Evidence “requires

a district court to admit opinion evidence that is connected to existing data only by the ipse

dixit of the expert.” General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

       It is also settled that the party proffering an expert has the burden of establishing the

admissibility of his testimony by a preponderance of the evidence. United States v. Williams,

506 F.3d 151, 160 (2d Cir. 2007). Given the flaws in what Dr. Brown has done when he

reaches outside the bounds of his training and expertise, plaintiffs cannot meet that burden as

to the opinions challenged here.


II.    Dr. Brown Has Neither the Expertise Nor a Reliable Methodology to Justify the
       Admissibility of His Opinions About the Safety of the Hudson River as a Source of
       Drinking Water.

       As noted above, most of Dr. Brown’s report and opinions relate in some fashion to the

fate and transport of PCBs in the Hudson River. But in the midst of offering those opinions, he

adds conclusions that go well beyond the boundaries of fate-and-transport issues into questions

of PCB health effects and the implications of those health effects for municipal water suppliers.

His Opinion 4.5 is a good example. That opinion, which is labeled “Resuspension,” spans

three pages of text, in which he discusses, among other things, how the EPA expected its

Engineering Performance Standards to address concerns about sediment being resuspended

during the dredging process; the differences between the EPA’s predictions and the actual


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reported releases from resuspension observed in Phase 1 of the dredging; and his expectations

about resuspension during the rest of the project. Ex. 1 at 30-33. As he closes the section, he

first offers an opinion about the duration of resuspension: “These elevated PCB concentrations

are likely to continue through the end of dredging and after dredging is completed.” Id. 33.

But he then adds a “commentary” about what he claims to be the implications of the

resuspension he predicts: “Therefore, it is my opinion that alternative water supplies were

required for the communities during dredging and will be required long after dredging is

completed to minimize further exposure to PCBs.” Id.

       Similarly, in Opinion 4.6 (“Uncertainty”), he spends three and half pages discussing

why he believes that measuring and predicting PCB levels in the River is difficult and will be

marked by significant uncertainty. Id. at 33-36. But he then offers up his own opinion as to

what the implications are for use of the River as a safe drinking water source: that levels of

PCBs in the river cannot be predicted with the degree of certainty necessary “to permit the

plaintiff municipalities to utilize the Hudson River as a safe source of drinking water supply

not threatened by PCBs.” Id. 36.

       In Opinion 4.11 (“Alternative Water”), he discusses exposure pathways, monitoring

data from various times during 2009 through 2011, and arrangements described in the EPA’s

Community Health and Safety Plan to pay for alternative water for some of these communities

during certain periods of time. Id. at 44-46. He leaps from those observations to the

conclusion that the River will not be suitable as a source for drinking water “[u]ntil there are no

longer any releases or threatened releases of PCBs to the river and all of the PCBs already in

the river have been sequestered or removed.” Id. 46.




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       In Opinion 4.12 (“Permanent Water Supply”), he reviews various standards the EPA

has used to assess PCB levels, criticizes the current drinking water standard of 500 parts per

trillion (ppt) as an “unthinkable” measure of when human exposure occurs, revisits the issue of

resuspension caused by the dredging, and repeats his conclusion that the dredging and other

related measures will not “reduce PCB concentrations in the water column to zero.” Id. at 47.

The implication, he says, is that the only answer for these communities, including Halfmoon

and Saratoga County, is “a permanent, alternative drinking water source.” Id.

       The problem with these ultimate conclusions, many of which appear in the summary

statement that begins each opinion, is that Dr. Brown lacks both the expertise and the reliable

factual and methodological basis necessary to render an admissible opinion about PCB health

effects and the implications of the Dredging Project for municipal water suppliers.

       A.      Dr. Brown Lacks the Qualifications to Opine About the Risks from Various
               Levels of PCBs in the Hudson River as a Source of Drinking Water.

       Rule 702 requires that an individual put forward as an expert witness “be qualified as

an expert by knowledge, skill, experience, training or education.” Fed. R. Evid. 702. Although

that requirement is generally interpreted liberally, it remains the case that “[i]n some

circumstances, . . . a district court may properly conclude that witnesses are insufficiently

qualified despite the relevance of their testimony because their expertise is too general or too

deficient.” Stagl v. Delta Air Lines, Inc., 117 F.3d 76, 81 (2d Cir. 1997). Perhaps most

pertinent here, as noted above, the courts do not hesitate to exclude expert opinions when the

expert fails to “stay within the reasonable confines of his subject area” and seeks to “render

expert opinion on an entirely different field or discipline.” Lappe, 857 F. Supp. at 227.

       Dr. Brown’s failure to keep within those confines is the problem here. He does not

claim that he has any formal training in PCB health effects or toxicology generally as part of


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his academic work leading to his degrees in agronomy. His lengthy discussion of his

qualifications in his expert report, Ex. 1 at 8-12, makes no mention of PCB health effects (in

fact, there is only one mention of PCBs at all, and it has to do with the fate and transport of

PCB oils in a river system) and only a few references to human health effects from any

environmental chemical. Perhaps more tellingly, he admits that PCB health effects are not

among the toxicological issues he has worked on in his career:

       Q    Are you a toxicologist, Dr. Brown?

       A I have not -- I don't have a degree in toxicology, but I have in fact worked
       on various components of toxicology over the years.

       Q Over the years have you worked on components of toxicology related to
       human health risks associated with PCBs?

       A    Not specifically PCBs, but I have worked on many other chemicals.

       Q    But not PCBs?

       A    Not PCBs.

       Q    Are you an epidemiologist?

       A    No.

       Q    Do you have epidemiological training?

       A    No.

       Q Have you published any articles on the human health effects of PCBs in
       peer reviewed literature?

       A    I have not.

Ex. 3 (Brown deposition) at 29:11-30:4 (emphasis added).

       In his curriculum vitae, Dr. Brown identifies almost thirty “Areas of Expertise,” only

one of which touches on toxicology or risk assessment – namely, the risk of soil contaminants

to plants and animals – and none of which refer to PCBs, human health effects, or the toxicity

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of chemicals in drinking water. Ex. 1, Appendix 1. His lengthy list of almost 200 publications

is likewise devoid of any mention of PCB health effects. Id. Rather his claimed knowledge of

these subjects appears to come solely from reading some scientific literature, although the only

scientific report he refers to is a recent publication by the International Agency for Research on

Cancer (IARC) reclassifying PCBs as a human carcinogen. Ex. 1 at 20, Ex. 3 at 28:17-29:10.

       Dr. Brown has had his testimony excluded before because he moved beyond the subject

matter of fate and transport of chemicals into topics of toxicology and medical causation. In

Palmer v. Asarco, Inc., No. 03-CV-0498-CVE-PJC, 2007 WL 2302584 (N.D. Okla. Aug. 7,

2007), he sought to offer not only opinions about the movement of dust containing lead and

resulting increases in soil concentration at the plaintiffs’ residences, but also opinions to the

effect that children living at those residences had experienced an increased intake of lead or

had an elevated blood level. Id. at *10. The court excluded the testimony because his fate-

and-transport knowledge and background did not provide him the necessary expertise or

qualifications to offer reliable opinions about matters of toxicology, which the court described

as the “study of how substances are absorbed into the body and the effect of substances on the

human body,” id. at *8, or medical causation. That same problem is obviously present here.

       The cases are clear that, even with the generally liberal view of expert qualifications

that Rule 702 adopts, expertise in one topic does not create license for a witness to speak about

any and all subjects that might be on his mind. See, e.g., Nimely v. City of New York, 414 F.3d

381, 399 n. 13 (2d Cir. 2005) (abuse of discretion to allow forensic pathologist to testify about

officer’s perception since pathologist lacked expertise in human perception and cognitive

function); McCullock v. H.B. Fuller Co., 981 F.2d 656, 657-58 (2d Cir. 1995) (expert qualified

to testify as industrial engineer was not qualified to opine about whether warning labels were



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adequate); SEC v. Tourre, 950 F. Supp. 2d 666, 677-78 (S.D.N.Y. 2013) (economic consultant

who had testified in numerous securities cases and who was familiar with structured finance

generally held not qualified to opine about collateralized debt obligations at issue); Dreyer v.

Ryder Automotive Carrier Group, Inc., 367 F. Supp. 2d 413, 431 (W.D.N.Y. 2005) (Ph.D. in

mechanical engineering could not testify that accident may have been caused by side effects of

medication taken by the plaintiff).

       For those same reasons, when Dr. Brown, the professor of agronomy and student of

how contaminants move in soils, wanders into the thicket of PCB health effects and how

municipalities should evaluate the health effects of various levels of PCBs in the source of their

drinking water, he is well beyond the area in which he has the requisite knowledge, skill,

experience, training, or education required to offer an admissible expert opinion.

       B.      Even if He Were Deemed Qualified, Dr. Brown Provides No Reliable Basis
               for His Opinions about PCB Health Effects and How Water Suppliers
               Should Evaluate the Human Health Risks of Various Levels of PCBs in
               their Raw Water.

       The problem for Dr. Brown is not only his lack of background, training, and experience

concerning the human health effects of PCBs in drinking water, but also the lack of reliable

scientific underpinning for the opinions on PCB toxicology and health effects that he proposes

to offer. His primary opinion on these issues, Opinion 4.11, is that the Hudson River will not

be a safe source for drinking water until all of the PCBs in the River, or that could potentially

reach the River, have been identified and removed. Ex. 1 at 44-46. In explaining that opinion,

he states: “Until there are no longer any releases or threatened releases of PCBs to the river

and all of the PCBs already in the river have been sequestered or removed . . . the water

drawn from the Hudson River is not suitable as a drinking water source.” Id. at 46. At his




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deposition he confirmed the “zero PCBs” reading of his opinion, when asked about plaintiff

Halfmoon:

       Q. So focusing on the Town of Halfmoon. Is it your opinion that until there
       are zero PCBs in the river it is unsafe for the Town of Halfmoon to provide
       drinking water through its water treatment plant to its customers?

       A.    Yes.

Ex. 3 at 31: 2-7. He later “clarified” that by “zero PCBs” he meant “no detectable level,” to

the extent those are different. Id. at 181: 12-16 (“If that 5-nanograms [released to the river] is

diluted enough so that we get to the point where we’re at the detection limit, the detection

limit is less than a part per trillion, which kind of is the zero level, then small releases will be

diluted that you won’t see it anymore.”).

       His explanation of the “basis” for this opinion does not come close to crossing the

reliability threshold. He recites that the “[i]ngestion of PCB contaminated water increases the

probability of cancer and other health risks,” which he knows from “reading the literature,

from my studies, from my awareness of this problem for decades.” Id. at 28:17-24. He never

explains what particular literature he has in mind or how he can connect that literature to the

opinion he offers. The only specific literature he cites is the recent statement by IARC,

coupled with his general understanding of how various groups decide whether a chemical

should be considered a carcinogen. Id. at 29:2-10. After criticizing the EPA’s Maximum

Contaminant Limit for PCBs in drinking water (500 ppt) as being an “arbitrary number” that

has “no relation to risk assessment,” id. at 66:9-10, he admits that in reaching his personal

“zero PCBs” standard, he had done no risk assessment of his own, id. at 186: 3-7.

       Dr. Brown refers to no scientific authority or body of learning holding that river water

cannot be safely used as a source for municipal water suppliers unless and until it contains non-



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detectable concentrations of PCBs. The EPA, which has been aware of PCBs in the water

column of the Hudson River since the mid 1970s, has never declared that PCBs must be non-

detectable before the River is safe to use as a source of drinking water, 3 and indeed it never

cited concern about the use of the River for drinking water as a reason to dredge the River in

the first place. Several municipalities used the River as a source of drinking water for years

before the beginning of the Dredging Project. New York’s Department of Environmental

Conservation and Department of Health, which likewise have been aware of and monitoring

PCBs in the water column of the River for decades, have never told any community that the

River was unfit to use as a source of raw water for a municipal drinking water system.

       Moreover, Dr. Brown specifically disclaimed relying on any other experts in the case

for his opinions about health risks: “No, I’m not relying on other experts for that. I have my

own opinion on that.” Id. at 27:16-23. Thus, he is not, for example, relying on Dr. David

Carpenter, the Saratoga County plaintiffs’ expert witness about health effects. Instead, Dr.

Brown insists that his opinions on health effects must stand or fall, as he put it, based upon his

“own opinion on that.” Id. at 27:22-23. Of course he could not be relying on Dr. Carpenter for

his “zero PCBs” opinion, because Dr. Carpenter does not hold that opinion. He testified that

he would not embrace the notion that at a PCB concentration of 20 ppt in the River, a commun-

ity would have to seek alternate water: “Q: Would you believe it would be reasonable for the

public water system to conclude that it needs to switch in the circumstances I described? A:

With 20 ppt, no.” Ex. 4 (Carpenter deposition) at 135:2-136:23.




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  Dr. Brown at one point claims that 34 micrograms/liter (equivalent to ppt), a standard for
PCBs in tap water, was the result of a risk-based analysis by the EPA. Ex. 2 at 31. Even
accepting that statement as correct, such a standard would obviously provide no support for the
“zero PCBs” standard that he advocates.
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       Dr. Brown’s different view is no doubt, as he says, his “own opinion,” but that does not

give him the necessary factual and scientific foundation to make that opinion admissible under

Rule 702. His leap from an inadequate foundation to an extreme endpoint is the worst form of

inadmissible ipse dixit. See, e.g., Joiner, 522 U.S. at 146, Louis Vitton Malletier v. Dooney &

Burke, Inc., 525 F. Supp. 2d 558, 643 (S.D.N.Y. 2007) (excluding testimony because the court

“does not fulfill its gatekeeper function if it simply accepts the ipse dixit of an expert”).

       It is obvious that Dr. Brown is offering health effects opinions without a reliable found-

ation. He compounds the problem, however, when he “applies” his personal health effects

opinions to offer views about what municipal water suppliers should and should not do when

confronted with various concentrations of PCBs in the River. In so doing, he is venturing

squarely into areas that require not only a sophisticated understanding of toxicology and risk

assessment but also, for example, knowledge of how water systems operate, what level of risk

municipal water providers routinely consider acceptable with respect to any contaminant, and

how PCB levels can be controlled by filtration. Dr. Brown dispenses with that last issue with

the conclusory assertion that filtration is not a viable alternative. Ex. 2 at 31-32. When he

tried to bolster that opinion by claiming that, in any event, alternative water was less costly

than filtration, he revealed the lack of any factual foundation for his opinion:

       Q. So are you able to say that the City of Troy connection [that is, alternate
       water] was the least add-on cost option?

       [objection omitted]

       A. At the time I wrote the report that opinion was based on what I had
       available to me. But I haven’t looked at that since.

       Q.    And what was available to you?

       A.    There were some documents, but it’s vague to me.



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Ex. 3 at 225:13-25. The problem, however, is more severe than just vagueness and a lack of

memory, because it does not appear that he ever had all of the requisite information:

       Q. You refer here in this paragraph that I was just talking about at the end of
       the paragraph in parentheticals to the added expense for disposal and handling
       costs Halfmoon would have incurred had it relied on a PAC [powdered
       activated carbon filtration] system during dredging. Do you know how much
       those added expenses would have been?

       A.   No. I didn’t have an opportunity to get those together.

Id. at 224:15-22.

       Dr. Carpenter, the Saratoga County plaintiffs’ expert on PCB health effects, at least

acknowledged the limits of his expertise with respect to opining about the numerous technical

and practical decisions that municipalities must make in balancing costs and risks:

       Q. So if we – we think of this cycle as a ledger, there is a cost – a risk side and
       then a cost side, and your focus and expertise is on the risk side, correct?

       A.   That’s correct.

       Q.   And you leave it to others to look at the – the cost side?

       A.   That’s right.

       Q.   Although I’m sure you have your own personal views on that?

       A.   I have my personal views, yes. But that’s, again, not my area of expertise.

Ex. 4 at 57:23-58:10.4

       Dr. Brown, on the other hand, gives no indication of understanding the difference

between his personal views and expert opinions, and he expresses no appreciation for the limits

of his own expertise or knowledge. But given the limits of his background and training, his


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  Despite this clear admission about his lack of expertise, Dr. Carpenter nonetheless offers a
variety of opinions on topics such as when water suppliers along the River should use alternate
sources of water. Where Dr. Carpenter strays into areas admittedly beyond his expertise, his
opinions likewise deserve exclusion. GE is separately moving to exclude certain of his
opinions.
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admitted failure to gather the requisite data on costs, and his inability at his deposition to

provide any foundation for his opinion except for a vague recollection of some documents he

believes he once saw, Dr. Brown’s opinions about PCB health effects and about the conditions

under which municipal water suppliers should and should not use the Hudson River as a source

of raw water cannot pass muster under Rule 702.

        For all these reasons, Dr. Brown should be precluded from opining that:

        o communities that used to draw their drinking water from the Hudson River
          will require alternative water long after the Dredging Project is concluded
          (Opinion 4.5);

        o potential spikes in PCB concentrations cannot be predicted with sufficient
          certainty to permit municipalities along the Hudson to use the river as a safe
          source of drinking water (Opinion 4.6);

        o it will not be safe for residents of Halfmoon to use the river for drinking
          water until there are no PCBs in the River (Opinion 4.11); and

        o the only way to ensure safe drinking water is to provide a permanent source
          of alternative water for the Plaintiff communities (Opinion 4.12).


III.    Dr. Brown Has No Reliable Factual or Methodological Basis for His Opinions
        About GE’s PCB Handling Practices or About the Timeliness of GE’s PCB-
        Control Efforts in the Period from 1967 to 1977.

        In his initial report, Dr. Brown offered no opinions about GE’s conduct in its manufac-

turing practices during the years it used PCBs or about the company’s response to the early

published reports suggesting that PCBs were a potential environmental issue. In his rebuttal

report, however, he delves into both topics. As with so many of his opinions, however, he is

again expressing what are, at best, personal views, grounded in insufficient facts and not

helpful to the trier of fact in this case.




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       With respect to manufacturing practices, Dr. Brown would like to opine that the leaks

and spills that GE experienced at its capacitor plants were “excessive” and “demonstrate a lack

of diligence” on GE’s part:

       I agree with [GE expert] Dr. Shifrin in that leaks and spills were common at
       manufacturing facilities, especially during the time when GE used PCBs to
       manufacture transformers and capacitors. However, the loss rate of PCBs by
       the GE facilities was excessive, even when compared to the relatively lax
       standards cited by Dr. Shifrin.

Ex. 2 at 18. His “basis” for that opinion is his reading of several memos from GE employees

about the rate at which PCBs were believed to have been lost in the manufacturing process. He

admitted in his deposition that one of the numbers in his report was a misinterpretation of the

underlying document, Ex. 3 at 216:8-19, as a result of which he erroneously more than doubled

the historic estimate upon which he claimed to be relying. But the more fundamental problem

is his lack of any scientifically or technically defensible benchmark against which to declare

that what GE discharged was “excessive”:

       Q. My question was, did you compare GE’s loss rate of PCBs with that of
       other transformer and capacitor manufacturers at the time?

       A.   I have not.

       Q. Did you compare GE’s loss rate with that of other industry users of PCBs
       at the time?

       A.   I have not, but that’s no excuse.

Id. at 210:12-18. “Excessive” to Dr. Brown means his personal views based on an unidentified

Army Corp of Engineers regulation from 1963 and his own views about how earlier statutes

concerning oil releases should have been seen as applicable to PCB discharges. Id. at 210:21-

25. Having not looked at the issue of industry practices, however, he simply has no scientific

basis for a reliable and admissible opinion about what constitutes “excessive” discharges.



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       He does no better with his opinion about the pace of GE’s reaction to the first publica-

tions in the late 1960s about possible environmental problems associated with PCBs. He

believes GE’s response suggested a lack of environmental concern on the company’s part: “In

my opinion, the ten year period from when PCBs were first identified as an environmental

hazard until the elimination of PCB discharge by GE in 1977, demonstrates a lack of regard by

GE for the Hudson River and the residents that utilize the river as a source of drinking water.”

Ex. 2 at 14-15. A few pages later, focusing on the period from 1970 to 1975, he likewise

declares that, “[i]n my opinion, five years to implement these control measures was excessive,

indicating a lack of responsiveness on behalf of GE to fix the problems they had allowed to

continue for decades.” Id. at 16.

       The law is clear that if the standard of care in a particular field is not within the

common knowledge of lay people, then it may be established only through expert testimony.

See Nat’l Telephone Co-op Ass’n v. Exxon Mobil Corp., 244 F.3d 153, 156-58 (D.C. Cir. 2001)

(expert testimony required to establish standard of care for performing an environmental

remediation). The premise of that rule, of course, is that an expert can and must bring to bear

on the question of the standard of care more expertise and knowledge than a lay person would

be expected to have. But Dr. Brown’s opinions, uninformed by the application of any

specialized knowledge, would make a mockery of that requirement. Courts have not hesitated

to exclude expert opinions on the standard of care when it is clear the expert has no reliable

foundation for that opinion. See, e.g., O’Connor v. Boeing North American, Inc., No. CV 97–

1554 DT (RCx), 2005 WL 6035255 at *16 (C.D. Cal. Aug. 18, 2005) (expert failed to establish

standard of care for flushing rocket engine with TCE). That same result is required here.




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       Again, Dr. Brown is offering a purely personal view, not admissible expert testimony.

He provides no frame of reference against which to measure the speed of GE’s response. He

analyzes no data about the success of various interim measures undertaken by GE in reducing

PCB discharges in the period before 1977. He ignores, among other things, the fact that no

federal or state regulatory agency had declared the Hudson River unfit as a source of drinking

water in the period before the Dredging Project. He can have his feelings about these subjects,

and express them in a variety of settings. But his personal views, tethered as they appear to be,

to his view that the River can only be a safe source of drinking water if it has “zero PCBs,” do

not constitute admissible expert testimony under Fed. Rule Evid. 702. Thus, Dr. Brown should

be precluded from offering opinions about:

       o GE’s manufacturing practices in the years it used PCBs, including the rate
         of leaks and spills from its manufacturing operations; and

       o the pace at which GE implemented control measures in the years after PCBs
         were identified as a potential environmental issue.


IV.    Dr. Brown Has No Reliable Basis for His Opinions About Plaintiffs’ Compliance
       with the NCP.

       It is not entirely clear whether plaintiffs intend to proffer an opinion from Dr. Brown

about whether their purported response actions complied with the NCP. None of the

enumerated opinions in his opening report speak to NCP compliance, although there is one

sentence at the end of his Executive Summary that simply states that “The response actions and

associated costs to obtain an uncontaminated source of drinking water are consistent with the

National Oil and Hazardous Substances Pollution Contingency Plan (40 CFR §300.5) and as

stipulated under the Comprehensive Environmental Response, Compensation, and Liability

Act (42 USC §9601).” Ex. 1 at 7. The remainder of his opening report says nothing else about



                                               17
the topic of NCP compliance or about which actions by which plaintiffs he was referring to in

his single comment.

       However, Dr. Brown devotes a page and a half of his rebuttal report to expressing his

disagreement with Steven Johnson, GE’s expert on NCP compliance. Ex. 2 at 34-35. After

summarizing Mr. Johnson’s key points, Dr. Brown states simply “I disagree with Mr. Johnson

and believe the responsibility for completing these particular elements lies with GE.” Id. at 35.

His rationale is pure personal opinion: “The residents of the towns should not be responsible

for paying for the cost of the RI [remedial investigation] and the feasibility study in addition to

the higher cost of water. Since GE failed to fulfill its obligations, the towns were justified in

seeking an alternate source of drinking water.” Id.. He ignores the factual record (including

that the Dredging Project was designed, through the Engineering Performance Standards, to

mitigate any impact of resuspension on community drinking water suppliers; and that at the

EPA’s direction, GE performed a Water Supply Options Analysis to develop contingency plans

for any occasions when the water supplies were at risk), and he cites no provision of CERCLA,

the NCP regulations, or anything else to support his own personal views about who should

have done what to comply with the NCP. He also claims that GE and Mr. Johnson “ignore[]

the fact that EPA endorsed the response actions taken by the municipalities to connect to

alternative water sources,” Ex. 2 at 35, but he thereby completely misses the point, since the

NCP compliance debate in this case is about actions the towns took that went beyond those that

the Agency endorsed or agreed to fund (e.g., their use of alternative water supplies in 2013,

2014, and 2015 during portions of the year when there is no dredging taking place).

       Dr. Brown’s deposition testimony about Halfmoon’s decision to use Troy water full-

time since 2010, which he claims to believe was an NCP-compliant response action, Ex. 3 at



                                                18
226:5-11, demonstrates the lack of any meaningful foundation for his opinions about NCP

compliance:

       Q. When is the last time that you looked at the NCP?

       A. Oh, it’s been three or four years.

       Q. Now, you don’t cite any NCP provisions in your rebuttal report. So my
       question is what provisions did you rely upon in coming to your conclusion here
       that Halfmoon’s decision to go on Troy water full-time was consist with the
       NCP?

       A. I didn’t cite anything. And the other thing I would say it’s more really a
       legal question than a scientific technical question.

       Q. Okay. But you’ve offered an opinion –

       A. I did, yes, I admit that.

       Q. Dr. Brown, and I’m just trying to understand the basis for that opinion.

       A. It was my understanding of what was consistent with the NCP.

       Q. And I’m saying what provisions of the NCP did you rely upon in coming to
       your conclusion that Halfmoon’s use of Troy water was consistent with the
       NCP?

       A. I’d have to go back and review it to tell you which ones.

Id. at 227:2-23.

       After disclaiming any views on whether what Halfmoon did constituted a “response”

action or a “remedial” action, which is a threshold distinction that dictates the specifics of

one’s NCP compliance obligations, Dr. Brown was candid about his lack of any basis on which

to opine about Halfmoon:

       Q. Does the NCP include the steps that a party has to take in order to make a
       cost recovery claim for response costs under CERCLA?

       A. Yes, they do.

       Q. What steps under the NCP was Halfmoon required to take?

                                                19
       A. I’d have to go back and check. I haven’t looked at that for a long time.

       Q. Do you know if Halfmoon in fact took those steps?

       A. I do not.

       . .   .

       Q. Do you know if under the NCP Halfmoon was required to perform an
       RI/FS?

       A. If they were, I’m not aware of that.

Id. at 228:10-15, 229:3-5.

       This is pure ipse dixit of the most pernicious kind: having no factual basis or legal

basis, and in fact acknowledging that the subject matter is outside his area (“it’s more really a

legal question than a scientific technical question”). There is simply no way such personal

expressions of his views can pass muster as admissible expert testimony. Dr. Brown should be

precluded from expressing any opinions about NCP compliance in this matter.

                                        CONCLUSION

       For the reasons stated, the Court should grant the motion and exclude the opinions of

Dr. Brown identified or described above.

Dated: August 8, 2014

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________________

TOWN OF HALFMOON et al.,

                             Plaintiffs,

      v.
                                                           Case No. 1:09-cv-0228, DNH-CFH

GENERAL ELECTRIC COMPANY,

                             Defendant.


SARATOGA COUNTY WATER AUTHORITY,

                             Plaintiff,
                                                           Case No. 1:11-cv-006, DNH-CFH
      v.

GENERAL ELECTRIC COMPANY,

                             Defendant.



       I HEREBY CERTIFY that on this 8th day of August, 2014, a true copy of the
foregoing General Electric Company’s Memorandum of Law in Support of its Motion to
Exclude Certain Opinions of Kirk Wye Brown, Ph.D. was served electronically on the
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